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                         Exhibit HH
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From:                             Scott A. Schlager <sas@natgolaw.com>
Sent:                             Thursday, June 29, 2023 4:57 PM
To:                               David Ferris; Brian R. Charville
Cc:                               Lolonyon Akouete; deniseedwards818@yahoo.com; sgordon@gordonfirm.com
Subject:                          Westborough SPE LLC - Legal Opinion from Delaware Corporate Counsel in-lieu of
                                  Bankruptcy Filing
Attachments:                      Documents from Jan Blaustein Scholes - June 29 2023.pdf; Ellisa Habbart - The Delaware
                                  Counsel Group, LLC (_DCG_).pdf

Importance:                       High




   External (sas@natgolaw.com)

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Hi David and Brian,

Our not hearing back from you leads us to the conclusion that you are not wanting to finance a bankruptcy proceeding.
However, we do have an important update to share with you on the authority side of the equation, that may change
your reasoning.

Attached are 3 documents that we were able to have F. Jan Blaustein Scholes execute:

    1. Delaware Certificate of Correction – Nullifying the Certificate of Cancellation/Withdrawal of Babcock & Brown
       Parallel Member LLC executed on June 23, 2023 by F. Jan Blaustein Scholes as Manager. This LLC is the
       successor-in-interest to Babcock & Brown Administrative Services, Inc. (a DE Corporation) that was the original
       listed manager of Westborough SPE LLC, the owner of the 231 Turnpike Road, Westborough, MA real property.
    2. Written Consent of the Manager of Babcock and Brown Parallel Member LLC, a DE LLC. – This document
       revises the “Bill of Sale” document and changes the name and purpose to a transfer of Manager role only. This
       document was executed on June 26, 2023 by F. Jan Blaustein Scholes and notarized in Maricopa County, Arizona
       by Billie J. Wahl.
    3. Durable Power of Attorney for Babcock and Brown Parallel Member LLC to Lolonyon Akouete and Denise
       Edwards.

We believe that we have sufficient authority to conduct all business on behalf of Westborough SPE LLC. To that end, and
in-lieu of filing for Bankruptcy, we would like to obtain a formal legal opinion to present to the Land Court from a noted
Delaware corporate law authority, Ellisa Habbart of The Delaware Counsel Group, LLC. I have spoken with Attorney
Habbert and she is able to draft a formal opinion as to the authority of Lolonyon Akouete and Denise Edwards to act on
behalf of Westborough SPE LLC and state her opinion that under Delaware law, a revived Westborough SPE LLC with the
same FEIN # is the same entity and thus the owner of the real property in Westborough, MA and the party entitled to
the unclaimed funds in California.

In order to obtain this legal opinion, Attorney Habbart has requested a retainer of $10,000.00. She stated that she would
be able to prepare the opinion prior to the July 6 th, 2023 discovery deadline.

Instead of financing a bankruptcy proceeding at this time, would you be amenable to incurring $10,000.00 for payment
to Attorney Habbart for a legal opinion and testimony to present in Court? Ideally, if you could please let us know if you
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would be interested by tomorrow morning preferably, that would be much appreciated so we can engage Attorney
Habbart.

Scott

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